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 1 LAW OFFICES OF CHRIS COSCA
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 3 Sacramento, CA 95814
   (916) 440-1010
 4 Attorney for Defendant
   JAMES RANDOLPH SHERMAN
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 6
 7                             IN THE UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                       2:13-CR-00302 MCE
10
                                    Plaintiff,       AMENDED STIPULATION REGARDING
11                                                   EXCLUDABLE TIME PERIODS UNDER
                             v.                      SPEEDY TRIAL ACT; ORDER
12
     JAMES RANDOLPH SHERMAN,                         DATE: June 23, 2016
13                                                   TIME:  10:00 a.m.
                                    Defendant.       COURT: Hon. Morrison C. England, Jr.
14
15
16
                                                 STIPULATION
17
           1.      By previous order, this matter was set for status on June 23, 2016.
18
           2.      By this stipulation, the parties now move to continue the status conference to
19
     July 30, 2016, and to exclude time between June 23, 2016 and July 28, 2016, under Local
20
     Code T4.
21
           3.      The parties agree and stipulate, and request that the Court find the following:
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                   a)     Discovery associated with this case includes 146 pages and multiple
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           CD/DVDs, some of which include lengthy surveillance, video and audio. This discovery
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           has been either produced directly to counsel and/or made available for inspection and
25
           copying.
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                   b)     Defense counsel desires additional time to review discovery, investigate,
27
           and to confer with his client concerning discovery, investigation, potential options for the
28
           defense and trial preparation.
      STIPULATION TO CONTINUE STATUS CONF             1
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 1                 c)      Counsel for defendant believes that failure to grant the above-requested

 2         continuance would deny counsel the reasonable time necessary for effective

 3         preparation, taking into account the exercise of due diligence.

 4                 d)      The government does not object to the continuance.

 5                 e)      Based on the above-stated findings, the ends of justice served by

 6         continuing the case as requested outweigh the interest of the public and the defendant

 7         in a trial within the original date prescribed by the Speedy Trial Act.

 8                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

 9         § 3161, et seq., within which trial must commence, the time period of June 23, 2016 to

10         July 28, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

11         B(iv) [Local Code T4] because it results from a continuance granted by the Court at

12         defendants’ request on the basis of the Court’s finding that the ends of justice served by

13         taking such action outweigh the best interest of the public and the defendant in a

14         speedy trial.

15         4.      Nothing in this stipulation and order shall preclude a finding that other provisions

16 of the Speedy Trial Act dictate that additional time periods are excludable from the period
17 within which a trial must commence.
18
19         IT IS SO STIPULATED.

20
21
     Dated: June 20, 2016                                /s/ JASON HITT
22                                                       JASON HITT
                                                         Assistant United States
23                                                       Attorney
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25
26 Dated: June 20, 2016                                  /s/ Chris Cosca
                                                         CHRIS COSCA
27
                                                         Counsel for Defendant
28                                                       JAMES SHERMAN


      STIPULATION TO CONTINUE STATUS CONF            2
             Case 2:13-cr-00302-MCE Document 101 Filed 06/23/16 Page 3 of 3


 1                                                ORDER

 2         With one small exception, the Court adopts the parties’ stipulation in its entirety at its

 3 order. The parties’ indicate at one point they prefer to have the status conference continued to
 4 July 30, 2016, which is not feasible. Instead, the status conference currently set for June 23,
 5 2016, is VACATED and CONTINUED to July 28, 2016, at 10:00. a.m.
 6         IT IS SO ORDERED.

 7 Dated: June 22, 2016
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      STIPULATION TO CONTINUE STATUS CONF            3
